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 4   Attorney for Defendant
     BRIAN PICKARD
 5

 6                               UNITED STATES DISTRICT COURT

 7                               EASTERN DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,                          No. 2:11-cr-00449-KJM-16

 9                  Plaintiff,                          STIPULATION TO EXTEND TIME
                                                        FOR POSTING PROPERTY BOND
10          v.                                          TO JANUARY 25, 2012

11   BRIAN PICKARD,                                     Court: Hon. Kendall J. Newman

12                  Defendant.
                                              /
13

14          IT IS HEREBY STIPULATED between the parties that the time for defendant BRIAN

15   PICKARD to post the property bond with this Court in order to secure his pretrial release shall

16   be extended from January 11, 2012, to January 25, 2012.

17          IT IS SO STIPULATED.

18                                                        BENJAMIN B. WAGNER
                                                          United States Attorney
19

20   /S/ZENIA K. GILG                             By:     /S/SAMUEL WONG
     ZENIA K. GILG                                        SAMUEL WONG
21   Attorneys for Defendant                              Assistant U.S. Attorney
     BRIAN PICKARD                                        Dated: January 11, 2012
22   Dated: January 11, 2012

23

24                                                ORDER

25          IT IS SO ORDERED.

26   DATED: January 12, 2012.

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